          Case 3:10-cr-04247-BTM                        Document 265                Filed 01/10/12              PageID.790                Page 1 of 4
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                                                                                                                        I            FILED
     "MO 245B      (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1                                                                                             1             JAN 102012
                                                                                                                                    m~~~a~m
                                              UNITED STATES DISTRICT COUR1[;[1)LRNDtSTRICTOFCAL=
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIM~NAL CASE
                                        v.                                         (For Offenses Committed On or Ajfter November 1, 1987)

                       ROBIN DEANN MILLER [9]                                      Case Number:           lOCR4247-009-~TM
                                                                                   CAROLYN OLIVER
                                                                                   Defendant's Attorney
    REGISTRATION NO. 22919298

    o
    THE DEFENDANT:
    18\ pleaded guilty to count(s) _1_O_F_T_H_E_I_ND_I_CT_M_EN
                                                             __T _ _ _ _ _ _ _ _ _ _ _ _-+_ _ _ _ _ _ _ __

    o was found guilty on count(s)                                                                                          I
          after a plea of not guilty.                                                                        I
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenst(S):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
21 USC 841(a)(1), 846,                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                    I




        The defendant is sentenced as provided in pages 2 through _ _4,--_of this judgment. The sentenJ is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
                                                        ------------------~------------
 18\ Count(s) Remaining counts in the Indictment                               is 0     arel8\ dismissed on the rotion ofthe United States.
 18\ Assessment:$lOO.OO at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program.                   i




  18\ Fine waived                                   0 Forfeiture pursuant to order filed                                        I ,included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any, change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. I~ordered to pay restitution, the
 defendant shall notifY the court and United States attorney ofany material change in the defendant's economic circum~ances.

                                                                              JANUARY 6, 2012
                                                                             Date oflmposition of Sentence                                            ,




                                                                                                                                          IOCR4247-009-BTM
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AO 245B     (Rev, 9/00) Judgment in Criminal Case
            Sheet 2 ~- Imprisonment


DEFENDANT: ROBIN DEANN MILLER [9]
                                                                                             Judgment   -f   Page _ _2 _ of     4


CASE NUMBER: lOCR4247-009-BTM
                                                            IMPRISONMENT
                                                                                                      b1 imprisoned for a term of
                                                                                                         I




                                                                                         tiI_ -h--'~+­
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to

          NINETY-SIX (96) MQNTIlS.



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).                          ~SKOWITZ                                       ~
   181 The court makes the following recommendations to the Bureau of Prisons:             UNITED SfATES DISTRICT JUDGE
          The Court STRONGLY recommends that the defendant participate in the 500 hour RDAP prdsram. That the defendant
          serve her sentence in California or Arizona to facilitate family visitation.         I


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _.......:...-_ _

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the B~reau of Prisons:
           o                                                                                                 :
           o notified by the United States Marshal.
                as
           o notified by the Probation or Pretrial Services
                as                                             Office.



                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                           UNITED STATEr MARSHAL

                                                                     By
                                                                                      DEPUTY UNITED      s1\ATES MARSHAL




                                                                                                                    lOCR4247-009-BTM
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AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                         Ju4ent-page          ~ of          4
DEFENDANT: ROBIN DEANN MILLER [9]                                                                II
CASE NUMBER: lOCR4247-009-BTM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is releaied within 72 hours of release from
the custody of the Bureau of Prisons.                                                                      .
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:                                                        I


                                                                                                             J
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any lawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment andat least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than ~ drug tests per month during
the term of supervision, unless otherwise ordered by court.                                            I
D The above drug testing condition is suspended, based on the court's determination that the defendaint poses a low risk of
       future substance abuse. (Check, if applicable.)                                                         I
\81 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous ~eapon.
    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 0tthe DNA Analysis
181 Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                          i


D The defendant shall register with the state sex offender registration agency in the state where the d~fendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicab Ie.)                            I
                                                                                                                  I

D The defendant shall participate in an approved program for domestic violence. (Check, if apPlicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release t~at the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance fith the Schedule of Payments set
forth in this judgment.                                                                                       I
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.                                                                                   I
                                         STANDARD CONDITIONS OF SUPERVISION I
  1)    the defendant shall not leave the judicial district without the permission of the court or probation <ilfficer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written Leport within the first five days of
        each month;                                                                                                   r
                                                                                                                      I

  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructiins of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;                     i


  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation office~ for schooling, training, or other
        acceptable reasons;                                                                              I
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence o~ employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, disttibute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
                                                                                                                          I
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distribpted, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associiate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;                                           I
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere anli shall permit confiscation of any
         contraband observed in plain view of the probation officer;                                            \
 ll)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law [Inforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occas .oned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such \notifications and to confirm the
         defendant's compliance with such notification requirement.                                                .
                                                                                                                              lOCR4247-009-BTM
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       AO 245B     (Rev. 9100) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        JUdgmft-page --i..- of _ _4_ ___
       DEFENDANT: ROBIN DEANN MILLER [9]
       CASE NUMBER: lOCR4247-009-BTM                                                               •

                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condi~ion of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises m~ be subject to searches pursuant to
    this condition.                                                                                       I
o
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangefous drugs in any form.
181 Participate in a program of mental health treatment as directed by the probation officer. The Court auth9rizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probatiqn officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.
                                                                                                               I
181 Take all Mental Health medication as prescribed and not discontinue said medication without permissioi from the prescribing doctor.
o Provide complete disclosure of personal and business financial records to the probation officer as requesfi:ld.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening      additionallin~ of credit without approval of the
    probation officer.                                                                                          :
181 Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within        days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at lei't I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.                                         .

o                                                                                                               I

    If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and lo~al and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the bther conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary depT'




                                                                                                                               lOCR4247-009-BTM
